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                      UNITED STATES DISTRICT COURT
             FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6,1
                                 Eastern Division

AL and PO Corporation
                                          Plaintiff,
v.                                                       Case No.: 1:14−cv−01905
                                                         Honorable Rebecca R. Pallmeyer
American Healthcare Capital, et al.
                                          Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, August 13, 2015:


        MINUTE entry before the Honorable Rebecca R. Pallmeyer: Motion hearing held.
Plaintiff reports that parties have settled this case on an individual basis. Status hearing set
for 9/21/15 is stricken and re−set to 9/3/15 at 9:00 a.m. If appropriate settlement
documents are submitted prior to that date, no personal appearance will be required.
Mailed notice (ao,)




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